Case 2:24-cv-00060-Z      Document 65      Filed 05/09/25     Page 1 of 4    PageID 2577



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


   RUSTY STRICKLAND, et al.,

        Plaintiffs,

   v.
                                                  No. 2:24-cv-60-Z
   THE UNITED STATES DEPARTMENT
   OF AGRICULTURE, et al.,

        Defendants.


                      JOINT MOTION FOR VOLUNTARY REMAND

          Pursuant to this Court’s April 25, 2025, Order, ECF No. 63, the parties

  respectfully submit the following joint motion for voluntary remand. The parties

  request that this Court set a remand deadline of September 30, 2025, with the

  understanding that the parties may need to further extend that deadline, and that the

  Court retain jurisdiction over the case. USDA intends to revise the challenged

  programs to cure the race and sex discrimination that the agency no longer defends.

  See Joint Letter of February 10, 2025, at 3, ECF No. 52 (stating USDA will no longer

  defend the merits of the race and sex discrimination in the challenged programs); see

  also Memorandum Opinion and Order, ECF No. 26 (issuing preliminary injunction

  against USDA’s use of “socially disadvantaged” designation in Emergency Relief

  Program 2022). Finally, as the parties discussed in their Joint Status Report on April

  10, 2025, the only remaining disagreement between the parties is about what results

  USDA will reach on remand. See generally ECF No. 61. As explained there, the parties

  disagree whether the remedy to USDA’s constitutional violation should be limited to

                                            1
Case 2:24-cv-00060-Z        Document 65        Filed 05/09/25       Page 2 of 4      PageID 2578



  the six plaintiffs in this case. See id. at 2 (Plaintiffs’ statement); id. at 4–5 (Defendants’

  statement). 1

      I. Legal Basis for Voluntary Remand and Retention of Jurisdiction

          Voluntary remand is appropriate here because USDA has “profess[ed] [its]

  intention to reconsider, re-review, or modify the original agency decision that is the

  subject of the legal challenge.” Franciscan All., Inc. v. Price, No. 7:16-CV-00108-O, 2017

  WL 3616652, at *3 (N.D. Tex. July 10, 2017) (quoting Limnia, Inc. v. U.S. Dep’t of

  Energy, 857 F.3d 379, 387 (D.C. Cir. 2017)). In general, “an administrative agency has

  the inherent authority to reconsider its decisions.” Macktal v. Chao, 286 F.3d 822, 825–

  26 (5th Cir. 2002) (citations omitted); see also ConocoPhillips Co. v. EPA, 612 F.3d 822,

  832 (5th Cir.2010) (“Embedded in an agency’s power to make a decision is its power

  to reconsider that decision.”). The Fifth Circuit has thus recognized that an agency

  may remand for reconsideration of a challenged action as long as the remand request

  is timely and reconsideration itself “would [not] be arbitrary, capricious, or an abuse

  of discretion.” ConocoPhillips Co., 612 F.3d at 832; see also Franciscan All., Inc., 2017 WL

  3616652, at *3 (“[C]ourts retain discretion to remand an agency decision, provided the

  agency has raised substantial and legitimate concerns in support of remand.”). Because

  the agency is interested in reworking the challenged programs, the parties agree that

  voluntary remand is appropriate and that neither party will be prejudiced.

          Although Defendants do not believe that it is necessary for the Court to retain

  jurisdiction over this case while USDA reconsiders the challenged programs on



  1
     Although the Court has declined to entertain briefing on the scope of the remand, Plaintiffs
   continue to believe that any remand that does not undo USDA’s past discrimination will be
   insufficient to satisfy the APA.

                                                 2
Case 2:24-cv-00060-Z       Document 65       Filed 05/09/25       Page 3 of 4     PageID 2579



  remand, the parties have agreed in the interest of efficient resolution that the Court

  may retain jurisdiction here. In particular, the parties agree that the Court may retain

  jurisdiction in order to ensure that the time limit imposed on remand is respected and

  to allow the parties efficient recourse should Plaintiffs be unsatisfied with the result of

  the remand. See Lewis v. United States, Case No. 18-1838, 2020 U.S. Dist. LEXIS

  198326, at *10 (E.D. La. Oct. 26, 2020) (contrasting the appropriateness of time limits

  and retaining jurisdiction with inappropriate remand orders that direct specific

  methods or conclusions).

         Accordingly, the parties respectfully request that the Court remand the

  challenged programs to USDA to cure their admitted constitutional defects. The

  parties request that the Court retain jurisdiction and set a deadline for USDA to

  finalize its reconsideration by September 30, 2025, with the understanding that the

  parties may request additional time if necessary. 2 The parties shall file a joint status

  report within fourteen days of USDA’s final reconsideration of the programs.


  Dated: May 9, 2025                    Respectfully submitted,

                                        YAAKOV M. ROTH
                                        Acting Assistant Attorney General
                                        Civil Division

                                        LESLEY FARBY
                                        Deputy Branch Director

                                        /s/ Cassandra M. Snyder
                                        CASSANDRA M. SNYDER
                                        Bar No. 1671667
                                        Trial Attorney
                                        United States Department of Justice

  2
    The parties agree that the preliminary injunction may remain in place during the course of
  the remand.

                                               3
Case 2:24-cv-00060-Z   Document 65    Filed 05/09/25       Page 4 of 4   PageID 2580



                                Civil Division, Federal Programs Branch
                                1100 L Street NW
                                Washington, D.C. 20005
                                (202) 451-7729
                                cassandra.m.snyder@usdoj.gov

                                Counsel for Defendants


                                /s/ Benjamin I. B. Isgur
                                BRADEN H. BOUCEK
                                  Georgia Bar No. 396831
                                  Tennessee Bar No. 021399
                                BENJAMIN I. B. ISGUR
                                  Virginia Bar No. 98812
                                Southeastern Legal Foundation
                                560 W. Crossville Road, Suite 104
                                Roswell, GA 30075
                                (770) 977-2131
                                bboucek@southeasternlegal.org
                                bisgur@southeasternlegal.org

                                WILLIAM E. TRACHMAN
                                  Colorado Bar No. 45684
                                Mountain States Legal Foundation
                                2596 South Lewis Way
                                Lakewood, Colorado 80227
                                (303) 292-2021
                                wtrachman@mslegal.org

                                ED MCCONNELL
                                  Texas Bar No. 13442500
                                Tormey & McConnell, LLC
                                310 SW 6th Ave.
                                Amarillo, TX 79101
                                Tel. (806) 355-2700; Fax. (806) 355-4771
                                ed@tmcattorneys.com

                                Attorneys for Plaintiffs




                                       4
